Case: 1:21-cr-00698 Document #: 68 Filed: 10/12/23 Page 1 of 4 PagelD #:280 SM

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
United States of America )
)
FILED
)
Vv. )
)
Ronald T Molo ) No. 21 CR 698 OCT 12 2023 SB
)
Defendant, ) THOMAS G. BRUTON
) Judge: Gettleman CLERK, U.S. DISTRICT COURT
and )
)
Heartland Bank and Trust Company, )
)
Third Party Citation Respondent. )
ANSWER OF THIRD PARTY CITATION RESPONDENT
Legal Orders Heartland Bank and Trust
1,__Edwina Beckman ___ the Processing Analyst II of Respondent, Company , State
(name) (title)
under penalty of perjury as follows:
Financial

The Respondent is a_Institution organized under the laws of the State of __ Illinois
(partnership, corporation)

On __10/04/2023___, Respondent was served with the Third Party Citation to Discover Assets. With respect to the judgment debtor,

Ronald T. Molo, on the day Respondent was served with the Citation, Respondent had in its possession or control the following
property of the judgment debtor:

L, Financial Accounts None. Account previously maintained closed 2/1/2022.
Account 1 Account 2
Account type: Account type:
Account No.: Account No.:
Amount: $ Amount: $
Amount withheld: $ Amount withheid: $
Account 3 Account 4
Account type: _ Account type:
Account No.: Account No.:
Amount: $ Amount: §

Amount withheld: $ Amount withheld: $

Please return to: United States Attorney’s Office, Financial Litigation Unit, 219 South Dearborn Street, 5 Floor,
Chicago, Illinois 60604

2, Safety Deposit Box None

Box No.:

Amount: $

Owners other than the judgment debtor:

3. Detail other personal property in the respondent's possession or control:

N/A

4. Are there prior garnishments or other court-ordered withholdings which are presently in effect including, but

not limited to child support and alimony?
Yes__ No X

If the answer is yes, describe below.

5. Does the Respondent have custody, control or possession of any property, other than accounts, safety deposit
boxes or other personal property, now owed or to be paid in the future, in which the judgment debtor has an interest?
Yes_ NoX

If yes, please describe below (continue on additional sheets if necessary):

6. Check and complete the applicable line below if you deny that you hold property subject to this Citation to
Discover Assets.

The Respondent has the following objections, defenses, or set-offs to the United States’ right to
apply Respondent's indebtedness to defendant to the United States’ claim:

Xx On the date the Respondent was served with the Citation to Discover Assets, Respondent was not
indebted or under liability to the defendant, and/or did not have in its possession or control any
assets, income or other property belonging to Respondent, or in which the defendant has an
interest,

7. The original Answer must be delivered in person or sent by first-class mail to the United States Attorney's Office,
ATTN: Financial Litigation Unit, 219 South Dearborn Street, Sth Floor, Chicago, Illinois 60604.

Please return to: United States Attorney’s Office, Financial Litigation Unit, 219 South Dearborn Street, 5‘ Floor,
Chicago, Illinois 60604

Case: 1:21-cr-00698 Document #: 68 Filed: 10/12/23 Page 3 of 4 PagelD #:282

8. The Respondent mailed a copy of this Answer by first-class mail to:

(A) the defendant, Ronald T Molo, at: Inmate 75666-509, USP Thomson. U.S. Penitentiary, PO Box 1002 Thomson, Illinois
“61285.

VERIFICATION

Pursuant to 28 U.S.C. § 1746, I verify under penalty of perjury that the foregoing is true and correct.

Executed thi October, : :
xecuted this 5th day of 2023 Bdveine W Haclowen
(Please print and sign name.)

815-756-1444

Phone No.

Please return to: United States Attorney’s Office, Financial Litigation Unit, 219 South Dearborn Street, 5" Floor,
Chicago, Illinois 60604

Case: 1:21-cr-00698 Document #: 68 Filed: 10/12/23 Page 4 of 4 PagelD #:283

Heartland

and Trust
Bank Company

124 S. Main St.
Sycamore, IL 60178

TEMP-RETURN SERVICE REQUESTED

Dirksen US Courthouse

219 S. Dearborn St
Chicago, IL 60604

LENO LORUSIA'SN RISTO
NOLNUD "DS SYAOHL

CIN9 7} IAR

UM Q ag HEAD ande bag He gle yogi pif pode pfladag Ai oli piijayyy

